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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

Sonjia Ranae McClure,

       Plaintiff,

v.                                                   Case No. 13-12599

Commissioner of Social Security,                     Honorable Sean F. Cox
                                                     Magistrate Judge David R. Grand
      Defendant.
_________________________________/

                                ORDER
           ACCEPTING AND ADOPTING REPORT & RECOMMENDATION

       This is a social security appeal. On June 13, 2013, Plaintiff Sonjia Ranae McClure filed her

Complaint with this Court against the Commissioner of Social Security, alleging that Administrative

Law Judge Earl A. Witten’s denial of her Supplemental Security Income application is unsupported

by substantial evidence and is contrary to law and regulation. (Doc. #1).

       On September 17, 2013, Plaintiff filed a Motion For Summary Judgment (Doc. #10). On

December 16, 2013, Defendant filed a Cross-Motion for Summary Judgment (Doc. #15). This case

was referred to Magistrate Judge David R. Grand for issuance of a Report and Recommendation

pursuant to 28 U.S.C. § 636(b)(1)(B) and (C). (Doc. #2).

        On May 29, 2014, Magistrate Judge Grand issued a Report and Recommendation (“R&R”)

wherein he recommended that this Court DENY Defendant’s Motion for Summary Judgment,

GRANT IN PART Plaintiff’s Motion for Summary Judgment, and REMAND the case to the ALJ

for further proceedings. (Doc. #17). On June 19, 2014, this Court adopted the Magistrate Judge’s

May 29, 2014 Report and Recommendation, reversed the Commissioner’s denial of benefits, and


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remanded the case to the ALJ for further proceedings. (Doc. #19).

       On July 21, 2014, Plaintiff filed a Motion for Attorney’s Fees pursuant to the Equal Access

to Justice Act. (Doc. #21). Plaintiff’s motion was referred to Magistrate Judge Grand for issuance

of a Report and Recommendation pursuant to 28 U.S.C. section 636(b)(1)(B). (Doc. #22).

       The Commissioner of Social Security failed to file a response to Plaintiff’s Motion for

Attorney’s Fees. On August 28, 2014, Magistrate Judge Grand issued an R&R recommending that

the Court grant Plaintiff’s motion and award her $6,528.51 in attorney’s fees and $400 in costs.

(Aug. 28, 2014 R&R, Doc. #23).

       Pursuant to FED. R. CIV. P. 72(b), a party objecting to the recommended disposition of a

matter by a Magistrate Judge must file objections to the R&R within fourteen (14) days after being

served with a copy of the R&R. FED. R. CIV. P. 72(b)(2). “The district judge must determine de

novo any part of the magistrate judge’s disposition that has been properly objected to.” Fed. R. Civ.

P. 72(b)(3).

       The time for filing objections to the R&R has expired and the docket reflects that neither

party has filed objections to the R&R. Furthermore, the Court agrees with the Magistrate Judge’s

recommendation. Therefore, the Court hereby ADOPTS the August 28, 2014 R&R. IT IS

ORDERED that Plaintiff’s Motion for Attorney’s Fees is GRANTED. The Court awards Plaintiff

attorney’s fees in the amount of $6,528.51 and costs in the amount of $400.

       IT IS SO ORDERED.

                                              S/Sean F. Cox
                                              Sean F. Cox
                                              United States District Judge

Dated: September 23, 2014

I hereby certify that a copy of the foregoing document was served upon counsel of record on


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September 23, 2014, by electronic and/or ordinary mail.

                             S/Jennifer McCoy
                             Case Manager




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